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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 UNITED STATES OF AMERICA                       §
                                                §
 v.                                             §    CASE NO. 2:12-CR-3-1 -JRG-RSP
                                                §
 DAVID LYNN SIRMANS                             §


               ORDER ADOPTING MAGISTRATE JUDGE=S REPORT AND
                        FINDING DEFENDANT GUILTY
                        PURSUANT TO RULE 11 (c)(1)(C)

        On this day, the Court considered the Findings of Fact and Recommendation of United

 States Magistrate Judge Roy S. Payne regarding defendant=s plea of guilty under the provisions

 of Rule 11(c)(1)(C) to Count 1 of an information charging defendant with a violation of 21

 U.S.C. ' 841(a)(1), Manufacturing of at least 5 grams but less than 50 grams of

 Methamphetamine (actual). Having conducted a proceeding in the form and manner prescribed

 by FED. R. CRIM P. 11, the Magistrate Judge recommends that the Court accept the defendant=s

 guilty plea, reserving to the District Judge the option of rejecting the Plea Agreement if, after

 review of the presentence report, the agreed sentence is determined not to be the appropriate

 disposition of the case. The parties waived their right to file objections to the Findings of Fact

 and Recommendation.        The Court is of the opinion that the Findings of Fact and

 Recommendation should be accepted.

        It is accordingly ORDERED that the Findings of Fact and Recommendation of the

 United States Magistrate Judge, filed on January 7, 2013 are hereby ADOPTED.

        It is further ORDERED that, pursuant to defendant=s plea agreement, the Court finds

 defendant GUILTY of Count 1 of the information in the above-numbered cause, reserving to the
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 District Judge the option of rejecting the Plea Agreement if, after review of the presentence

 report, the agreed sentence is determined not to be the appropriate disposition of the case.

        SIGNED this 19th day of December, 2011.
       So ORDERED and SIGNED this 14th day of February, 2013.




                                                           ____________________________________
                                                           RODNEY GILSTRAP
                                                           UNITED STATES DISTRICT JUDGE




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